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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

BERNARD WAITHAKA, Individually and On
Behalf of All Others Similarly Situated,
                                             CIVIL ACTION NO. 4:18-CV-40150-TSH
Plaintiff,

v.

AMAZON.COM, INC. and AMAZON
LOGISTICS, INC.,

Defendants.



       MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO COMPEL
        ARBITRATION OR, IN THE ALTERNATIVE, TO TRANSFER OR STAY
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I.      INTRODUCTION

        This case is a bit of déjà vu. As this Court learned during the remand proceedings, there is

an FLSA case (Rittmann) pending in the Western District of Washington that purports to cover

Plaintiff Waithaka (“Waithaka” or “Plaintiff”). Indeed, the Rittmann plaintiffs are represented by

the same counsel as Waithaka and, before filing the instant case, Waithaka’s counsel originally

advised Amazon that Waithaka had signed a consent to opt into the Rittmann case. But after Judge

Coughenour in Washington dismissed 7 of 8 counts in Rittmann, Waithaka hedged his risk by

filing this action.    In the meantime, Waithaka’s counsel filed an amended complaint in

Washington, which continues to encompass an FLSA class that would include Waithaka. And

currently pending in Rittmann is precisely the issue presented here: Should Delivery Partners who,

like Waithaka, agreed to arbitrate be compelled to fulfill that promise?

        In Rittmann, the plaintiffs never suggested that the governing Independent Contractor

Terms of Service (“TOS”) failed to clearly and conspicuously notify Delivery Partners of the

agreement to arbitrate. Nor could they. At least 10 paragraphs call attention to the agreement.

The first notice is on page 1, set off by capital letters and bold font. The agreement is unambiguous,

mutual, and fair. Among other terms, the TOS caps arbitration fees payable by a claimant at $200,

less than the cost to file a complaint in Massachusetts. Waithaka scrolled through the entire TOS

and clicked “I AGREE AND ACCEPT” twice, including once specifically agreeing to arbitration.

        As Plaintiff’s counsel did not argue unconscionability in Rittmann, Amazon does not

anticipate that will be an issue here either. In any event, it is well-settled that electronic app-based

agreements such as the TOS are enforceable. Bekele v. Lyft, Inc., 199 F. Supp. 3d 284 (D. Mass.

2016), aff’d No. 16-2109, 2019 WL 1146759, at *1-2 (1st Cir. Mar. 13, 2019) (compelling

arbitration under app-based agreement); Wickberg v. Lyft, Inc., 356 F. Supp. 3d 179, 184 (D. Mass.



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2018) (driver “entered into a valid arbitration agreement…by affirmatively assenting to reasonably

communicated terms” and finding claims within “all disputes and claims” clause).

       Nor is there any question that Plaintiff’s claims fall within the scope of the agreement. See,

e.g., Peterson v. Binnacle Capital Servs. LLC, No. CV 18-40088-TSH, 2019 WL 1101283, at *2

(D. Mass. Mar. 8, 2019) (Hillman, J.) (enforcing arbitration agreement where defendant

demonstrated existence of a valid agreement and claims within its scope) (citing Dialysis Access

Center, LLC v. RMS Lifeline, Inc., 638 F.3d 367, 375 (1st Cir. 2011)). In fact, after the Supreme

Court handed down Epic Systems Corp. v. Lewis, 138 S. Ct. 1612 (2018) (enforcing arbitration

agreements with class waivers), Plaintiff’s counsel has filed at least 15 individual arbitration

demands on behalf of putative class members in the first-filed Rittmann case. Accordingly, there

can be no argument by Plaintiff regarding the scope of the arbitration agreement.

       Rather, Amazon expects, based on the arguments in Rittmann, that Waithaka will argue

that the Federal Arbitration Act (“FAA”) is inapplicable, and therefore does not require compelling

arbitration, on a theory that the local delivery persons here fall within the statute’s Transportation

Worker Exemption found in Section 1. 9 U.S.C. § 1. But the narrow language of the Exemption

does not encompass a “class of workers” like Delivery Partners, engaged to perform services

primarily local and intrastate in nature and who have none of the hallmarks of the classes of

transportation workers that Congress excluded from the FAA’s coverage.

       To interpret the Exemption to encompass couriers like Waithaka, who make local or “last

mile” deliveries with a personal vehicle (or even a bicycle or via public transportation), would

render the FAA’s reference to seamen and railroad employees superfluous and contradict

Congress’s intent that the “FAA should be read to further, rather than discourage, the use of




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arbitration.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 346 (2011) (FAA embodies

“liberal federal policy favoring arbitration.”).

       Even if the Exemption were to apply, however, that does not answer the arbitrability

question. The TOS’s choice of law provision designates Washington law as the governing law

with respect to all matters not otherwise governed by the FAA, and makes clear that the parties’

agreement to arbitrate does not hinge on whether the FAA applies. The arbitration agreement also

is enforceable under Washington law, which contains no transportation worker exemption and

strongly favors arbitration. And even if Plaintiff were to argue that Massachusetts law should

apply in the absence of the FAA, there is no reason the arbitration provision at issue would not be

equally enforceable, as written, under Massachusetts law. The result under state or federal law is

the same: Waithaka must arbitrate his claims.

       In the alternative, if this Court were to deny Amazon’s motion to compel, then the Court

should transfer Waithaka’s claims to the Western District of Washington under the first-to-file rule

or, alternatively, under 28 U.S.C. § 1404(a), for consolidation with Rittmann. Waithaka and all

Delivery Partners are expressly included within the Rittmann putative collective. Waithaka’s

counsel selected Washington federal court to litigate, nationwide, the drivers’ alleged

misclassification claims and, in fact, Waithaka signed a consent to opt-in to Rittmann. See

Declaration of Elizabeth M. Bresnahan (“Bresnahan Decl.”) ¶ 8, Ex. F. Moreover, this case

overlaps Rittmann in every material way, as evidenced by the instant motion and the fully-briefed

motion there, both seeking to enforce the same arbitration agreement under the same legal

principles. There is a clear risk of inconsistent rulings and massive inefficiencies for the judiciary

and the parties by litigating these cases on parallel tracks. Alternatively, this Court may stay this

case pending the disposition of Rittmann to reduce inefficiency and the risk of inconsistent rulings.



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II.    STATEMENT OF FACTS

       A.      The Amazon Flex Program

       Amazon “is a commercial seller of electronic and consumer goods through its website[.]”

ECF No. 1, Ex. A (“Compl.”) ¶ 1. Amazon contracts with local courier services and independent

contractors like Waithaka to make local deliveries from facilities in Massachusetts.            See

Declaration of Piyush Lumba (“Lumba Decl.”), attached as Exhibit B to the Bresnahan Decl., ¶ 4;

see also Declaration of Rajiv Mashruwala, attached as Exhibit C to the Bresnahan Decl. Delivery

Partners are crowdsourced through the Amazon Flex smartphone app. Lumba Decl. ¶ 4. Delivery

Partners sign up to participate in Amazon Flex and then use a personal vehicle (or other

transportation, such as bicycle or public transportation) to make deliveries. Id. ¶¶ 5, 16. Delivery

Partners decide when to provide services, and can accept or reject any opportunity offered by

Amazon. Id. ¶ 17. As its name suggests, Amazon Flex does not require Delivery Partners to

maintain a regular schedule or minimum frequency of services. Id. Delivery Partners are free to

provide services to other companies, including Amazon’s competitors. Id. ¶ 18.

       B.      Amazon Flex Independent Contractor Terms of Service

       To sign up for Amazon Flex, Delivery Partners download the Amazon Flex app on a

smartphone and accept the Independent Contractor TOS. Id. ¶ 5.1 Individuals can spend as much

time as they wish reviewing the TOS before deciding to accept or opt out. Id. ¶ 6. Waithaka

accepted the TOS on January 13, 2017. Declaration of Peter Nickerson (“Nickerson Decl.”) ¶ 6.

Page one of the TOS reads in pertinent part:




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        The TOS is also accessible to Delivery Partners in the Account/View Legal Information
section of the Amazon Flex app. Id. ¶ 8.


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               YOU AND AMAZON AGREE TO RESOLVE DISPUTES
               BETWEEN YOU AND AMAZON ON AN INDIVIDUAL BASIS
               THROUGH FINAL AND BINDING ARBITRATION….

Lumba Decl. ¶ 9, Ex. A at 1 (capitalization and emphasis in original). Section 11, titled “Dispute

Resolution, Submission to Arbitration,” reiterates in multiple capitalized paragraphs the parties’

agreement to resolve disputes in individual arbitration. Id. ¶ 11, Ex. A at 5-6, ¶ 11 (emphasis in

original). Delivery Partners can “opt out” of arbitration by sending a one-line email during a 14-

day opt-out period, but Waithaka did not do so. Id. ¶ 12, Ex. A at 6, ¶ 11(k); Nickerson Decl. ¶¶ 5,

7. Waithaka twice clicked “I ACCEPT AND AGREE,” including specifically to the arbitration

agreement. Lumba Decl. ¶ 11; Nickerson Decl. ¶ 6.

III.   PROCEDURAL BACKGROUND

       On October 4, 2016, Waithaka’s counsel filed Rittmann, a putative class and nationwide

collective action against Amazon in the Western District of Washington. The Rittmann proposed

FLSA collective asserts the same misclassification theory alleged in this case and putatively

includes Waithaka and all Delivery Partners nationwide. See Rittmann, ECF No. 83

(“Rittmann SAC”), attached as Exhibit D to the Bresnahan Decl., at ¶ 10. Amazon moved to

compel individual arbitration of all Delivery Partners who, like Waithaka, did not opt out of

arbitration. Rittmann, ECF No. 36, attached as Exhibit A to the Bresnahan Decl. That motion is

awaiting decision.

       Like the Rittmann plaintiffs, Waithaka alleges that Amazon misclassified Delivery Partners

as independent contractors. Compl. ¶ 2. Waithaka alleges causes of action under (1) the

Massachusetts Independent Contractor Law; (2) the Massachusetts Wage Act; and (3) the

Massachusetts Minimum Wage Law. Id. As in Rittmann, the Complaint in this case seeks alleged

unpaid wages and unreimbursed business expenses. Id.




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IV.    ARGUMENT

       A.      THE ARBITRATION AGREEMENT IS VALID.

       The FAA requires federal courts to compel the arbitration of any claims covered by a valid

arbitration agreement. See e.g., Epic Sys., 138 S. Ct. at 1621. Consistent with our “national policy

favoring arbitration,” Preston v. Ferrer, 552 U.S. 346, 352 (2008), the FAA mandates that

arbitration agreements “shall be valid, irrevocable, and enforceable” to the same extent as any

contract, and commands that a district court “shall” issue “an order directing the parties to proceed

to arbitration in accordance with the terms of [their] agreement.” 9 U.S.C. §§ 2, 4.

        “A party seeking to compel arbitration under the FAA must demonstrate that a valid

agreement to arbitrate exists, that the movant is entitled to invoke the arbitration clause, that the

other party is bound by that clause, and that the claim asserted comes within the clause’s scope.”

Peterson, 2019 WL 1101283, at *2 (quoting Dialysis Access Center, LLC v. RMS Lifeline, Inc.,

638 F.3d 367, 375 (1st Cir. 2011)). To determine the validity of online agreements, courts apply

the “reasonably communicated and accepted” standard. Bekele, 2019 WL 1146759, at *4-5. Here,

“the undisputed facts demonstrate that [Amazon] provided [Waithaka] with more than reasonable

notice of its arbitration provision, and that [Waithaka] assented to that provision. Accordingly, the

parties reached a valid written arbitration agreement.” Bekele, 199 F. Supp. 3d at 298. There is

no argument that the TOS is in any way unconscionable. Nor is there any conceivable argument

that the wage and hour claims fall outside the broad scope of the arbitration provision, which

covers “ANY DISPUTE OR CLAIM … ARISING OUT OF OR RELATING IN ANY WAY TO

THIS AGREEMENT. . . .” Lumba Decl. Ex. A at 5, ¶ 11.




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       B.      THE FAA’S TRANSPORTATION WORKER EXEMPTION DOES NOT
               APPLY TO LOCAL DELIVERY DRIVERS LIKE WAITHAKA.

                   1. The FAA’s Language Confirms The Exemption Is Limited To Classes
                      Of Workers Engaged To Perform Work Similar To The Interstate
                      Transportation Work Of Seamen And Railroad Employees.

       Waithaka is left to argue that the FAA does not apply by virtue of the Transportation

Worker Exemption.       The Exemption states that the FAA does not “apply to contracts of

employment of seamen, railroad employees, or any other class of workers engaged in foreign or

interstate commerce.” 9 U.S.C. § 1. As he is not a seaman or railroad employee, the question here

is whether Waithaka fits within the Exemption’s “residual clause”—“any other class of workers

engaged in . . . interstate commerce.” The answer turns on whether the work (last mile deliveries)

and class of workers (last mile delivery drivers) are “similar in nature” to the work and the classes

specifically identified in the preceding words of the Exemption (seamen and railroad employees).

Explaining the Exemption’s narrow wording, the Supreme Court has held the residual clause is

“construed to embrace only objects similar in nature” to the “preceding specific words.” Circuit

City Stores, Inc. v. Adams, 532 U.S. 105, 114-15 (2001) (rejecting argument that Exemption

embraces contracts of employment of every “class of workers” covered by Section 2). In other

words, the residual clause is “read to give effect to the terms ‘seamen’ and ‘railroad employees,’

and should itself be controlled and defined by reference to the enumerated categories of workers

which are recited just before it.” Id. at 115 (emphasis added).

       As Circuit City explains, the Exemption in Section 1 of the FAA contrasts sharply with the

language in Section 2. Section 2 contains no limiting terms, such as a reference to “seamen” and

“railroad employees,” and states that the FAA applies to “contract[s] evidencing a transaction

involving commerce.” 9 U.S.C. § 2. It is well-settled that the FAA broadly covers transactions

touching upon “interstate” commerce, yet Section 2 does not even invoke the word “interstate.”


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By contrast, Section 1—the Transportation Worker Exemption provision—contains the limiting

terms “seamen” and “railroad employees” and focuses not on the underlying contract for service,

but on the character of the work and nature of the class of workers. The Section 2 language permits

a looser connection with interstate commerce—the activities need only involve commerce in

general; the activities in Section 1, by contrast, must be interstate commerce and the class of

workers must be engaged for that purpose similar to seamen and railroad employees. Plaintiffs’

argument begs the question: Why would Congress make such dramatically different linguistic

choices in sequential statutory sections if it intended the words to mean the same thing? Clearly,

it did not.

        The Supreme Court reached exactly that conclusion in Circuit City, contrasting Section 2’s

“more open-ended formulation[]” with the “narrower” wording of Section 1’s residual clause.

Circuit City, 532 U.S. at 118 (citation omitted). Giving proper effect to Congress’s deliberate

linguistic choices here means that Section 1’s residual clause will apply only if the class is engaged

for work that is itself interstate commerce and similar to the classes enumerated in the Exemption.

Because short, last-mile package delivery is not itself interstate commerce, and the class of local

delivery drivers is not similar to seamen and railroad employees, the Exemption does not apply.

                   2. The FAA’s History Confirms That The Exemption Is Limited To
                      Classes Of Workers Who Could Halt The National Transportation
                      Network Through A Labor Strike, Similar To Seamen And Railroad
                      Employees.

        Although a worker must “‘actually engage’ in the transportation of goods in interstate

commerce for the [Exemption] to apply,” that factor is a “necessary but not sufficient showing

for the purposes of the [E]xemption.” Hill v. Rent-A-Ctr., Inc., 398 F.3d 1286, 1290 (11th Cir.

2005). In addition to proving that he regularly crosses state lines in the ordinary course of

performing his work, Magana v. DoorDash, Inc., 343 F. Supp. 3d 891, 899 (N.D. Cal. 2018)


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(Exemption does not apply where delivery driver did not cross state lines), Waithaka must prove

that he belongs to a “‘class[]’ of transportation workers within the transportation industry” that

Congress intended to exempt from the FAA’s coverage. Hill, 398 F.3d at 1290. Waithaka is not

a member of any such class.

        As the Supreme Court made clear in Circuit City, the Exemption serves a narrow purpose

tailored to the distinctive and significant role railroad employees, seamen, and similar classes of

workers engaged in interstate commerce perform in our national economy. In the early twentieth

century, a series of devastating railroad strikes had crippled the nation’s transportation networks.

In response, Congress enacted legislation establishing specialized dispute resolution procedures

for railroad workers, with the goal of avoiding future labor strife. Similar legislation already

existed for seamen and would soon exist for airlines. Circuit City, 532 U.S. at 121. Against this

backdrop, when Congress enacted the FAA in 1925, it included the Exemption so that private

arbitration agreements would not interfere with “prescribed alternative employment dispute

resolution regimes” that already applied to the two enumerated classes of workers engaged in long-

distance transit and that were expected to apply to similar classes (e.g., airline employees). New

Prime, Inc. v. Oliveira, 139 S. Ct. 532, 537 (2019) (citing Circuit City supra). As with seamen

and railroad employees, Congress’s concern in enacting the residual clause was averting the

devastating toll that disruptions in some transportation industries could take on the national

economy. See Margaret Gadsby, Strike of the Railroad Shopmen, MONTHLY LABOR REVIEW, Dec.

1922, at 1, 6.

        This history of industry-specific legislation shows that Congress’s concern in crafting the

Exemption was not with just any transportation activities. Seamen and railroad employees served

a vital national function, and Congress wanted to protect the American economy through



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regulatory and dispute-resolution schemes tailored to those classes of workers whose mission is

the interstate transportation of goods. As the Eleventh Circuit has explained:

        The emphasis . . . was on a class of workers in the transportation industry, rather
        than on workers who incidentally transported goods interstate as part of their job in
        an industry that would otherwise be unregulated. There is no indication that
        Congress would be any more concerned about the regulation of the interstate
        transportation activity incidental to [plaintiff’s] employment as an account
        manager, than it would in regulating the interstate “transportation” activities of an
        interstate traveling pharmaceutical salesman who incidentally delivered products
        in his travels, or a pizza delivery person who delivered pizza across a state line to a
        customer in a neighboring town.

Hill, 398 F.3d at 1289-90.

        The residual clause’s “reference to the enumerated categories of workers” means that

covered workers must be like seamen and railroad employees. Circuit City, 532 U.S. at 115. But

local delivery drivers are nothing akin to seamen and railroad employees. In contrast to the labor

disruption concerns that animated the Exemption in 1925, a strike by local delivery couriers for a

single retailer would not cause the level of economic turmoil that results from strikes by seamen,

employees of airlines or railways, or even employees of cross-country trucking fleets.

                 3. The Weight Of Authority Confirms That The Exemption Is Limited To
                    Classes Of Workers Similar To Seamen And Railroad Employees.

        Courts consistently reject application of the Exemption to local delivery personnel. These

courts adopt the reasoning addressed above that Congress intended the exemption to reach workers

who, by virtue of a strike, would “interrupt the free flow of goods to third parties in the same way

that a seamen’s strike or railroad employee’s strike would.” Veliz v. Cintas Corp., No. C 03-1180,

2004 WL 2452851, at *8, 10 (N.D. Cal. Apr. 5, 2004) (Exemption did not apply to local delivery

drivers).   Here, Waithaka seeks to represent only those Delivery Partners who work in

Massachusetts. Compl. ¶ 1. So, Waithaka’s own allegations confirm the local character of the

services provided and, therefore, undermine the proposition that a strike by a class of local couriers


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would disrupt the “interstate transportation of goods—for example, by crippling trucking or

shipping lines, air carriers, railroads, seaports, and the like.” Lee v. Postmates Inc., No. 18-cv-

03421, 2018 WL 6605659, at *7 (N.D. Cal. Dec. 17, 2018) (“A strike by local couriers would

presumably have no more effect on interstate commerce than a national strike of, say, cashiers,

shelf-stockers, or any number of other classes of employees who are not interstate transportation

workers.”). 2 And while in Rittmann Plaintiff’s counsel made much of the size of Amazon,

Waithaka cannot articulate any basis to argue for, or cite any authority to support, the proposition

that application of Section 1 depends upon the size of the retailer who sold the goods to be

delivered. Unlike disruptions at ports, train sheds, and airport warehouses, which would affect

freight sold by thousands of companies at the same time, a strike by Amazon Flex drivers would

affect the customers of a single e-retailer that has numerous other avenues for delivery (e.g.,

FedEx, UPS, and other local courier services). Similarly, consumers would be able to fulfill their

needs through other e-retailers or by visiting a brick-and-mortar store. That is a far cry from the

national economic impact that a strike of a shipping line, airline, or railroad would cause.

       The difference between Waithaka and the discrete classes of transportation workers whom

the Exemption covers is further corroborated by the fact that he is not subject to industry-specific


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        Some cases have conducted a different analysis when facing a different question—namely,
whether workers who are a step removed from the actual transportation or delivery fall within the
Exemption. Compare, e.g., Lenz v. Yellow Transp., Inc., 431 F.3d 348, 352-53 (8th Cir. 2005)
(concluding that a “customer service representative” did not fall within the Exemption), with, e.g.,
Palcko v. Airborne Express, Inc., 372 F.3d 588, 590 (3d Cir. 2004) (concluding that a “Field
Services Supervisor” did fall within the Exemption). These courts’ analyses of that very different
question has no bearing on how to analyze the question here—whether workers engaged in
intrastate activities fall within the Exemption—which is readily answered by the statue’s plain
language, history, and purpose, and the factually apposite caselaw cited above. See, e.g., Magana,
343 F. Supp. 3d at 900 (finding Palcko inapposite for this reason). But even if the Court applied
such an analysis instead of conducting the simpler inquiry suggested by the statutory text and
history, local delivery drivers would not fall within the Exemption. See, e.g., Lee, 2018 WL
6605659, at *7.


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arbitration legislation that Congress intended to leave undisturbed when it enacted the FAA. See

Singh v. Uber Techs. Inc., 235 F. Supp. 3d 656, 670 (D.N.J. 2017) (holding that drivers were “too

far attenuated” from employees to whom the Exemption applies because the drivers were not

subject to “special arbitration legislation”). It cannot even be said that all Delivery Partners belong

to the same “class” of worker in the way that seamen and railroad employees do. Some Delivery

Partners deliver by car, but others may choose to deliver by other modes of transportation. See

Lumba Decl. ¶ 16. This Court, too, has recognized that Congress intended to distinguish between

those identifiable classes of transportation workers who are subject to special procedures for

dispute resolution, and those workers who are not:

       According to a report of the American Bar Association, which sponsored the
       [FAA], there was an objection made on behalf of the Seamen’s Union, that
       seamen’s wages come under admiralty jurisdiction and should not be subject to
       agreements to arbitrate. When faced with this issue, the drafters of the bill added
       the exclusionary language for seamen, and for railroad workers, who also had their
       own special procedures for the resolution of disputes. In consideration of the
       foregoing, it seems logical that the drafters “rounded out the exclusionary clause
       by excluding all other similar classes of workers.”

Scott v. Farm Family Life Ins. Co., 827 F. Supp. 76, 78 (D. Mass. 1993) (quoting Tenney Eng’g,

Inc. v. United Elec. Radio & Mach. Workers, 207 F.2d 450, 452-453 (3d Cir. 1953)). “Therefore,

it is reasonable to find that, in the absence of such legislation, Congress intended for the FAA to

apply” to the delivery drivers in this case. Singh, 235 F. Supp. 3d at 671; see also Kowalewski v.

Samandarov, 590 F. Supp. 2d 477, 485 (S.D.N.Y. 2008) (exemption did not apply to drivers

because there was “no suggestion that applying the FAA to the Black Car industry would upset

any pre-existing or developing statutory scheme” and “[e]xpanding the scope of the residuary

exemption” is contrary to the FAA’s purpose “to reverse judicial hostility to arbitration” including

in the employment context) (citations omitted). In sum, neither the FAA’s history, Supreme Court

precedent, nor the decisions of this Court support the position that Congress intended the


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Exemption to carve out from the FAA workers like Waithaka who are engaged in unregulated,

local delivery services on behalf of consumer retail companies.

       C.      IN THE ALTERNATIVE, WAITHAKA’S CLAIMS SHOULD BE
               COMPELLED TO ARBITRATION UNDER WASHINGTON LAW.

       Even if Waithaka were correct that the Exemption applied in this situation, such a finding

would not answer the ultimate question of whether he must arbitrate. The arbitration agreement

expressly invokes not just the FAA, but also “applicable federal law.” Lumba Decl. Ex. A at 6, ¶¶

11(j), 12. Neither Congress nor the federal courts have imposed any obstacle to enforcing the

parties’ mutual agreement to arbitrate, even if not pursuant to the FAA, and Waithaka offers no

basis to dash those contractual expectations. Volt Info. Sci., Inc. v. Bd. of Tr. of Leland Stanford

Junior Univ., 489 U.S. 468, 470-78 (1989) (Congress did not intend the FAA to occupy entire field

of arbitration, and applying state law to parties’ agreement did not undermine goals and policies

of the FAA). Under applicable federal law, if the FAA does not apply, state arbitration law governs.

Oliveira v. New Prime, Inc., 857 F.3d 7, 24 (1st Cir. 2017) (whether Exemption applies “has no

impact on other avenues (such as state law) by which a party may compel arbitration”), aff’d New

Prime supra; Maldonado v. Sys. Servs. of Am., Inc., No. 09-542, 2009 WL 10675793, *2 (C.D.

Cal. June 18, 2009) (after finding Exemption applied to truck driver, compelling arbitration under

state law); Valdes v. Swift Transp. Co., 292 F. Supp. 2d 524, 529-30 (S.D.N.Y. 2003) (same).

       The arbitration agreement is fully enforceable under Washington law, which has no

transportation worker exemption, but does have a “strong presumption in favor of” arbitration.

Marcus & Millichap Real Estate Inc. Servs. v. Yates, Wood & MacDonald, Inc., 369 P.3d 503, 510

(Wash. Ct. App. 2016); see also Peterson, 2019 WL 1101283, at *3-4 (applying arbitration

agreement’s Vermont choice of law provision and compelling arbitration of nurse’s

misclassification and Massachusetts wage and hour claims).


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       Based on the briefing in Rittmann, Amazon expects Waithaka to argue that the Washington

Uniform Arbitration Act (“WUAA”) does not apply to agreements between employers and

employees. But that argument is meritless for several reasons. First, Waithaka expressly agreed

to provide services as an independent contractor, not an employee. Lumba Decl. Ex. A at 1, ¶ 2.

In the context of this motion, the Court cannot reach the question of whether drivers are

“employees.” See, e.g., Raytheon Co. v. Donovan, 208 F. Supp. 2d 99, 104 (D. Mass. 2002) (“‘[I]n

deciding whether the parties have agreed to arbitration, a court is not to rule on the potential merits

of the underlying claims….’”) (citation omitted).3 Second, courts interpreting the WUAA have

held that it does not bar the arbitration of employment disputes, and that parties remain free to

agree contractually to arbitrate employment claims. See Brooks v. Robert Larson Auto Grp., Inc.,

No. C09-5016, 2009 WL 2853452, at *2 (W.D. Wash. Sept. 1, 2009) (“Plaintiffs’ assertion that

the [WUAA] excludes employment disputes from arbitration is incorrect . . . There is no

prohibition of contractual arbitration of employment disputes.”); see also Bier v. Good Chevrolet,

Inc., No. 757-33-4-I, 2017 WL 3600567 (Wash. Ct. App. Aug. 21, 2017) (enforcing agreement to

arbitrate employment disputes). Under both the FAA and Washington law, the plain reading of

the TOS requires Waithaka to arbitrate his claims on an individual basis.4


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       And in contrast to New Prime, 139 S. Ct. at 539-40, there is no possible argument that the
terms “employment” and “independent contractor” mean the same thing under the WUAA. The
same Washington Legislature that enacted the WUAA in 2006 enacted at least five laws which
expressly distinguished employees from independent contractors, so it cannot be said that the
Legislature included “independent contractors” when it deliberately used the term “employee” in
the WUAA. See H.B. 2340, 2005-06 Session (Wash. 2006); H.B. 2991, 2005-06; S.B. 5274, 2005-
06 Session (Wash. 2005); S.B. 6185, 2005-06 Session (Wash. 2006); S.B. 5309, 2005-06 Session
(Wash. 2005); H.B. 2292, 2005-06 Session (Wash. 2006).
4
       Massachusetts’s commitment to arbitration is similarly codified in the Massachusetts
Arbitration Act, Mass. Gen. Laws ch. 251 § 1 et seq. (“MAA”); see also Minkina, M.D. v. Frankl,
No. 20091961, 2006 WL 8077081, at *2-3 (Super. Ct. Feb. 14, 2006) (Massachusetts courts give
“due regard . . . to federal policy favoring arbitration” and “interpret the underlying policy of [the
MAA] as favoring the arbitral forum as an alternative to the judicial forum” (citing Brennan v.

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       D.      IF THE COURT DOES NOT COMPEL ARBITRATION, IT SHOULD
               TRANSFER THIS ACTION TO THE RITTMANN COURT OR STAY
               THIS ACTION PENDING DISPOSITION OF RITTMANN.

               1.    The Court Should Transfer This Action Under The First Filed Rule.

       Transfer under the first-filed rule is appropriate where, as here, the two actions are

“substantially similar matters as to the parties, underlying facts, claims and requested relief.”

Gastineau v. Gifford, Nos. 11-11096, 11-11312, 2011 WL 4381501, at *1 (D. Mass. Sept. 19,

2011). “It is not necessary to have ‘100% overlap’ or a precise ‘mirror image’ between two cases

to transfer.” Id. Later-filed actions should be transferred to promote efficiency and judicial

economy. Biolitec, Inc. v. AngioDynamics, Inc., 581 F. Supp. 2d 152, 156-57 (D. Mass. 2008).

       The earlier-filed Rittmann action asserts substantially similar claims against the same

defendants and based on an identical theory of liability as the claims in this case. Given this

overlap in parties, issues, and allegations, if the Court does not compel Waithaka’s claims to

individual arbitration, it should transfer this case to the Western District of Washington. Indeed,

another federal court already has transferred a later-filed case to be consolidated with Rittmann.

See Mack v. Amazon.com, Inc., No. 17-02515 (C.D. Cal. Sept. 19, 2017), ECF No. 25, attached as

Exhibit G to the Bresnahan Decl.; Order Consolidating Cases (ECF. No. 87) entered in Rittmann,

attached as Exhibit E to the Bresnahan Decl.

                            (i)        The Parties Are Substantially Similar.

       This action and Rittmann share identical defendants in Amazon.com, Inc. and Amazon

Logistics, Inc. As for plaintiffs, in a class action “it is the class, not the representative, that is




King, 139 F.3d 258, 264-65 (1st Cir. 1998)). The MAA similarly does not exempt transportation
workers. Mass. Gen. Laws ch. 251, § 1. Like the FAA, however, the MAA also seeks to avoid
interfering with specialized dispute resolution procedures. Id. (“The provisions of this chapter
shall not apply to collective bargaining agreements to arbitrate….”).


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compared.” Weinstein v. Metlife, Inc., No. 06-04444, 2006 WL 3201045, at *4 (N.D. Cal. Nov.

6, 2006); see also Fuller v. Abercrombie & Fitch Stores, Inc., 370 F. Supp. 2d 686, 689 (E.D.

Tenn. 2005) (finding sufficient overlap where different named plaintiffs held the same positions

and suits were against the same defendant). 5 Waithaka and the members of this putative

Massachusetts class are included within the nationwide FLSA collective alleged in Rittmann. See

Fryda v. Takeda Pharm. N. Am., Inc., No. 1:11-cv-00339, 2011 WL 1434997, at *5 (N.D. Ohio

Apr. 14, 2011) (transferring state-law class action that was a subset of first-filed nationwide FLSA

collective).

                           (ii)       The Issues And Allegations Are Substantially Similar.

        The claims of both Waithaka and the Rittmann plaintiffs turn on the same allegation: that

“Amazon has misclassified delivery drivers [Delivery Partners] as independent contractors when

they are actually employees.” Compare Compl. ¶ 2, with Rittmann SAC ¶ 2. In both actions, the

plaintiffs claim that Amazon failed to pay minimum wages and reimburse business expenses.

Compare Compl. Counts II-III, with Rittmann SAC Counts I-III, VI-VII. Many allegations in the

Complaint in this case “track[], virtually verbatim, statements from the complaint in the [Rittmann]

action.” Wiley, 667 F. Supp. 2d. at 172 (granting motion to transfer). Both sets of plaintiffs allege

that: Delivery Partners must “pay for many of the expenses necessary to perform their job,

including expenses for their vehicles, gas, phone and data plan”; “drivers’ hourly wages sometimes

fall below the [applicable] minimum wage”; and although “it often takes the drivers more time to

complete their deliveries than their scheduled shifts,” “drivers do not receive additional

compensation for this extra time.” Compare Compl. ¶¶ 9-11, with Rittmann SAC ¶¶ 22, 24-25.


5
        Having different named plaintiffs in two related class actions does not change the equation.
See, e.g., Wiley v. Gerber Prods. Co., 667 F. Supp. 2d 171, 172-73 (D. Mass. 2009) (transferring
despite no overlap between the named plaintiffs in the first and second filed actions).


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       Because the core allegations and issues in this action are identical to those asserted in

Rittmann, the Court should transfer this case to the Western District of Washington if it does not

compel arbitration. See, e.g., Wiley, 667 F. Supp. 2d at 172 (“The causes of action are very similar,

although the two cases invoke the laws of different states….”); Biolitec, 581 F. Supp. 2d at 158

(transferring claims under Massachusetts law to the Northern District of New York after

concluding the “essence of Plaintiff’s position in the two suits” was substantially similar); see also

Mazzantini v. Rite Aid Corp., 829 F. Supp. 2d 9, 11 (D. Mass. 2011) (transferring claims under

Massachusetts Wage Act to the Middle District of Pennsylvania, which was “entirely capable of

addressing the Massachusetts state law claims”).

               2.    In The Alternative, Transfer Is Appropriate Under 28 U.S.C. § 1404(a).

       The many reasons that support transferring this action under the first-to-file rule apply with

equal force under 28 U.S.C. § 1404(a), which permits the transfer of litigation from one federal

court to another for the “convenience of parties and witnesses, in the interest of justice.” Like the

first-filed rule, the purpose of § 1404(a) “is to prevent the waste of time, energy and money and to

protect litigants, witnesses and the public against unnecessary inconvenience and expense.” Van

Dusen v. Barrack, 376 U.S. 612, 616 (1964) (internal quotations omitted). The decision whether

to transfer an action pursuant to § 1404(a) is left to the discretion of this Court. Pure Distribs.,

Inc. v. Baker, No. Civ. 99-412, 2000 WL 1499472, at *1 (D.N.H. May 10, 2000).

       Under § 1404(a), courts consider “whether the case ‘might have been brought’ in the

suggested transferee district and, if so, whether convenience and the interest of justice favor

transfer.” Wiley, 667 F. Supp. 2d at 172. The following factors are also relevant: (1) “the

convenience of the parties and witnesses,” (2) “the availability of documents,” (3) “the order in

which jurisdiction was obtained by the district court,” and (4) “the possibilities of consolidation.”

Cianbro Corp. v. Curran-Lavoie, Inc., 814 F.2d 7, 11 (1st Cir. 1987). As an initial matter,

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Waithaka could have brought this action in the Western District of Washington, where Amazon

has its principal place of business, and where Plaintiff’s counsel previously brought the Rittmann

action. Wiley, 667 F. Supp. 2d at 172. In fact, counsel for Plaintiff originally advised that

Waithaka would participate in Rittmann. Bresnahan Decl. ¶ 8, Ex. F.

       The other factors also weigh strongly in favor of transfer. First, as to convenience, the

relevant inquiry is “not whether Massachusetts is [the] more convenient [venue] in the abstract but

instead whether sanctioning a second, nearly identical action here is more convenient than

transferring the case for the purpose of consolidation.” Wiley, 667 F. Supp. 2d at 173. Transfer to

Washington, where it can be joined with Rittmann and another case already transferred there from

California, would be substantially more convenient for the many witnesses who otherwise would

be forced to testify about similar claims in two separate actions pending at opposite ends of the

country. Waithaka’s counsel has already filed nearly identical claims, including for Massachusetts

Delivery Partners, in the Western District of Washington. See Gastineau, 2011 WL 4381501, at

*2 (“A transfer will avoid the possibility of divergent, perhaps contradictory, results in these

substantially similar cases and prevent duplication of effort on the part of the witnesses and the

parties.”); Cook v. E.I. DuPont de Nemours & Co., No. 3:17-cv-00909, 2017 WL 3315637, at *4

(M.D. Tenn. Aug. 3, 2017) (transferring wage and hour action from Tennessee to Texas: “the fact

that the [Tennessee] plaintiffs could choose not to opt in to the Texas action is not relevant”).

Absent transfer, duplication of discovery and witness testimony is certain given the substantial

similarity of the claims, grounded in the same misclassification theory against the same parties.

       Second, transfer will also “ease the access to evidence and proof, as there is likely to be

substantial overlap in discovery. King-Scott v. Univ. Med. Pharm. Corp., No. 09-cv-0251, 2010

WL 1815431, at *2 (S.D. Cal. May 6, 2010); see also Pure Distribs., 2000 WL 1499472, at *2



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(granting motion to transfer where related actions “involve many of the same witnesses and

documentary exhibits” and “it would be both inconvenient to those witnesses and an inefficient

use of judicial resources to allow substantially similar actions to proceed in different forums”).

       Third, Rittmann was filed well before this action, which favors transfer. Cianbro Corp.,

814 F.2d at 11. Fourth, the same factors supporting transfer also support consolidating this case

with Rittmann under Rule 42(a) after transfer. Wiley, 667 F. Supp. 2d. at 173 (“[R]elated cases

pending in different federal courts may be consolidated in a single district by a transfer of venue

[pursuant to 28 U.S.C. § 1404(a)]”). That is precisely what happened after Amazon successfully

transferred to the Western District of Washington another duplicative misclassification action filed

by Waithaka’s counsel in the Central District of California. See Mack v. Amazon.Com, Inc., No.

17-02515 (C.D. Cal. Sept. 19, 2017), ECF No. 25, attached as Exhibit G to the Bresnahan Decl.;

Order Consolidating Cases (ECF. No. 87) entered in Rittmann, attached as Exhibit E to the

Bresnahan Decl.

       Finally, joining this action with Rittmann would well serve the “interest of justice,” 28

U.S.C. § 1404(a), by promoting the efficient use of judicial resources, avoiding unnecessary waste

and expense, and avoiding potentially conflicting judgments. Cont’l Grain Co. v. Barge FBL-585,

364 U.S. 19, 26 (1960) (“To permit a situation in which two cases involving precisely the same

issues are simultaneously pending in different District Courts leads to the wastefulness of time,

energy and money that [§] 1404(a) was designed to prevent.”); TPM Holdings, Inc. v. Intra-Gold

Indus., Inc., 91 F.3d 1, 4 (1st Cir. 1996) (“Obvious concerns arise when actions involving the same

parties and similar subject matter are pending in different federal district courts.”).

               3.    In The Alternative, Equity Compels A Stay Of The Instant Action.

       Compelling equitable considerations also favor the exercise of this Court’s inherent

authority to stay this case. See Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). Plaintiff neither

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will suffer prejudice nor be denied his day in court because he already is a putative member of the

purported collective action pending in Rittmann. On the other hand, if the Court does not transfer

or stay this case, Amazon and two courts will incur the wasteful expense and time demands

associated with litigating the same class issues and claims in separate actions with the possibility

of inconsistent rulings. TPM Holdings, 91 F.3d at 4; see also Colo. River Conservation Dist. v.

U.S., 424 U.S. 800, 817 (1976) (among federal districts, “the general principal is to avoid

duplicative litigation”); Alves v. Prospect Mortg., LLC, No. 13-10985, 2013 WL 5755465, at *3

(D. Mass. Oct. 22, 2013) (granting motion to stay in FLSA and state wage and hour case “based

largely on considerations of judicial economy” and to avoid “wast[ing] time and expense on

matters that will then be duplicated by the transferee court”). The policy promoting the elimination

of duplicative actions is overwhelmingly applicable here.

V.     CONCLUSION

       Amazon respectfully requests that the Court compel Waithaka’s claims to individual

arbitration and stay this action or, in the alternative, transfer Waithaka’s claims to the Western

District of Washington, or stay this action pending the disposition of Rittmann.

  Dated: April 2, 2019                           AMAZON.COM, INC. and
                                                 AMAZON LOGISTICS, INC.,

                                                 By their attorneys,

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                               RULE 7.1(A)(2) CERTIFICATION

        I, Elizabeth M. Bresnahan, hereby certify on behalf of Defendants that we have in good
faith conferred with counsel for Plaintiff in advance of this motion and have attempted in good
faith to resolve or narrow the issues raised in this motion. No issues raised in this motion have
been resolved or narrowed.

                                                                         /s/ Elizabeth M. Bresnahan
                                                                             Elizabeth M. Bresnahan




                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 2, 2019, the foregoing document was filed through the ECF
system and sent electronically to the registered participants as identified on the Notice of Electronic
Filing (NEF).

                                                                         /s/ Elizabeth M. Bresnahan
                                                                             Elizabeth M. Bresnahan




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